                   Case 5:18-cv-00257-JFL Document 3 Filed 01/31/18 Page 1 of 13

UNITED STATES DISTRICT COURT
EASTERN DISTRICT OF PENNSYLVANIA




     (Tn the space above enter the full name(s) of the plaintiff(s).)


                            ·against·

                                                                                      COMPLAINT
                                                                                  JuryTrial: DYes       ¥No

                                                                                               {check one)




(In the space above enter the full name(s) of the defendant(s). If you
cannot fit the names of all of the defendants in the space provided,
please write "see attached" in the space above and attach an
additional sheet of paper with the full list of names. The names
listed in the above caption must be identical to those contained in
Part I. Addresses should not be included here.)

I.          Parties in this complaint:

A.          List your name, address and telephone number. If you are presently in custody, include your identification
            number and the name and address of your current place of confinement. Do the same for any additional
            plaintiffs named. Attach additional sheets of pat:ier as necessary.


Plaintiff            Name
                     Street Address                                                  fZd.
                     County, City                                                               u;11<-
                     State & Zip Code                                                                 1Jtvs1
                     Telephone Number



Rev. 10/2009
               Case 5:18-cv-00257-JFL Document 3 Filed 01/31/18 Page 2 of 13


B.       List all defendants. You should state the full name of the defendants, even if that defendant is a government
         agency, an organization, a corporation, or an individual. Include the address where each defendant can be
         served. Make sure that the defendant(s) listed below are identical to those contained in the above caption.
         Attach additional sheets of paper as necessary.

Defendant No. 1
                                      StreetAddress _ _ _ _ _ _ _ _ _ _~------------
                                      County, City _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ __
                                      State & Zip Code _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ __


Defendant No. 2                       Name $e.-{'.
                                      Street Address _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ __
                                      County, City _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ __
                                      State & Zip Code _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ __


Defendant No. 3                       Name      ~
                                      Street Address _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ __
                                      County, City _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ __
                                      State & Zip Code _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ __


Defendant No. 4

                                      Street A d d r e s s - - - - - - - - - - - - - - - - - - - - - - -
                                      County, City _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _                          ~



                                      State & Zip Code _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ __




II.      Basis for Jurisdiction:

Federal courts are courts of limited jurisdiction. Only two types of cases can be heard in federal court cases
involving a federal question and cases involving diversity of citizenship of the parties. Under 28 U.S.C. § 1331, a
case involving the United States Constitution or federal laws or treaties is a federal question case. Under 28 U.S.C. §
1332, a case in which a citizen of one state sues a citizen of another state and the amount in damages is more than
$75,000 is a diversity of citizenship case.

A.      What is the basis for federal court jurisdiction? (check all that apply)
       ~~deral Questions                      Q Diversity of Citizenship

B.        If the basis for jurisdiction is Federal Question, what federal Constitutional, statutory or treaty right is at

          issue?-------------------~---------------
                                          CJl S'                      ~{AK



Rev. 10/2009                                            -2   -15   I 6-
            Case 5:18-cv-00257-JFL Document 3 Filed 01/31/18 Page 3 of 13




List of all Defendants.
ATTACHMENT A



Commissioner
Department of the Treasury
Internal Revenue Setvice
1111 Constitution Avenue, NW
Washington
Disnict of Columbia 20224

John Doe
Deparnnent of the Treasury
Internal Revenue Service
PO Box 219236, Stop P-4 5050
Jackson, Kansas City
Missouri 64121-9236



Equifax, Inc.
1550 Peachtree Street, N.W.
Fulton, Atlanta,
Georgia 30309

 Richard F. Smith, CEO
 Equifax, Inc.
 1550 Peachtree Street, N.W.
 Fulton, Atlanta,
 Georgia 30309
                           Case 5:18-cv-00257-JFL Document 3 Filed 01/31/18 Page 4 of 13




            C.       If the basis for jurisdiction is Diversity of Citizenship, what is the state of dtizenshlp of each party?

                     Plaintiff(s) state(s) of citizenship   -~?_ce=.,~'==~g"-C'-/H-/~1,_r~i!l=~f-/~~1~1.c-~---------
                     Defendant(s) state(s) of citizenship    _,h~~'·~5~>~o~u,,_,1,_1_,_j_)+-----<D~~,_C~~·-(,,.1c.•_,_}___
            III.     Statement of Claim:

            State as briefly as possible the facts of your case. Describe how each of the defendants named in the caption of thls
            complaint is involved in thls action, along with the dates and locations of all relevant events. You may wish to
            include further details such as the names of other persons involved in the events giving rise to your claims. Do not
            cite any cases or statutes. If you intend to allege a number of related claims, number and set forth each claim in a
            separate paragraph. Attach additional sheets of paper as necessary.

            A.       Where did the events giving rise to your claim(s) o c c u r ? - - - - - - - - - - - - - - - - - -
                               <J-eg          ,tltZfyt-d'-"-1 T-                        /?
            B.       What date and approximate time did the events giving rise to your daim(s) occur? _ _ _ _ _ _ _ __




  What
            c.
happened
 to you?




 Who did
  what?




  w~
 anyone

  ''"
involved?




VhO else
aw what
appened?




            Rev. 1012009                                            -Ii*- '(
            Case 5:18-cv-00257-JFL Document 3 Filed 01/31/18 Page 5 of 13




Statement of Claim
ATTACHMENT B

Bad Faith Collections Claim and Tort

A. Where did the events giving rise to my claim occur?
I am a victim of Identily Theft, and the IRS knows this.
IRS received my Form 14039 for my Identity Theft claim, IRS Notice CPOlS, Notice Date
December 18, 2017, caller ID is 479915.
Therefore, events are not known exactly or precisely known because Identity Theft and data
breach are world wide now with the Internet. Therefore, my answer is worldwide.

B. What date and time did the events giving rise to my claim occur?
Today. I received a collection letter from the IRS for a bill for $75,95 7.35 and demanded
payment by February 14, 2018, and if not paid, threatened unlawful to take my Social Securily
benefits.         ( /   ,, ••
                   , ..:/,..-,I      -   ~l
                                              .•         ,    I)
C.Facts
1. I have submitted Affidavits of Identity theft to both the Internal Revenue Service a't the Federal
Trade Commission.

2. Equifax Corporation admitted they failed to protect my private data.


3. IRS is a customer of Equifax.

4. Equifax does not encrypt its data. and did not encrypt my data.

5. Defendant and Equifax, Inc. CEO Smith testified under oath on the public record before the
US Congress that he was respon$ible for my data breach and identity theft, a breach of his
fiduciary duly.

 6. I did not amend a 2007 tax return.

 7. A claim for a debt from 2007 is past the statute of limitations.




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        fjJ         Department of the Treasury
                    Internal Revenue Service
                    PO BOX 219236, STOP P-4 5050
                                                                                                                            Notice
                                                                                                                             Notice date
                                                                                                                             Social Security number
                                                                                                                                                      CP91
                                                                                                                                                    January 15, 2018

        IRS         KANSAI CITY MO 64121-9236                                                                               To contact us            1-800-829-- 7650
                                                                                                                            Your Caller ID           479915
                                                                                                                            Page 1 of 4
                    000819.673710.104457.8073 2 MB 0.423 1027
                    l1l1l1lll1l1l'1·llllJ111 1 •111•1 1 l1 1 ll 1l1 1 1l1 1 l•l 1 l1h 1ll 11 ll 1 1111



                   EDWARD T KENNEDY
                   401 TILLAGE RD
00819              BREJNIGIVlllE PA 18031-1839



        Intent to seize up to 15% of your Social Security benefits
        Amourit due immediately: $75,957.35
        We haven't received full payment despite sending                              Billing Summary
        you several notices about your unpaid federal taxes.                          Amount you owed                                                              $52,950.81
        We will seize (levy) up to 15o/o of the Social Security                       Additional failure-to-pay penalty                                              8,179.50
        benefits you receive in order to pay your unpaid                              Additional interest charges                                                    14,827.04
        federal taxes until they are paid in full. (Internal                          Amount due immediately                                                      $75,957.35
        Revenue Code section 6331(h))
        We have Identified the following Social Security
        account information:
        • Social Security Claim Account Number:
           197445450
        • Beneficiary's Own Account Number:
           197445450
        Don't contact the Social Security Administration. If
        you have any questions, please contact us at 1-800-
        829-7650.
                                                                                                                                                             Continued on back...



        fj)J
                                                                                       EDWAR01 KENNEDY
                                                                                       41)1   Tlll~Gt   RD
                                                                                                                              Notice                  CP91
                                                                                      llREINlGSV!llE PA 18(.131-1639         Notice date              January 15, 2018

        IRS                                                                                                                  Social Security number



        1111 ~~~rt1~~11 Ill                                                            • Make your ch&k or money order payable to the United States Treasury.
                                                                                       • Write your Social Security number, the tax period(s) and form number(s) on your
                                                                                         payment and any correspondence.
        Payment
                                                                                       Amount due immediately                                                 $75,957.35
             INTERNAL REVENUE SERVICE
             PO BOX 219236, STOP P-4 5050
             KANSAS CITY MO 64121-9236




        197445450 DJ KENN 30 0 200712 670 00007595735
           Case 5:18-cv-00257-JFL Document 3 Filed 01/31/18 Page 7 of 13




Memorandum of Law
1. Under Pennsylvania law a collection company must act with the "utmost good faith" and fair
dealing toward me.

2. This fiduciary duty is with IRS to comply with US law.
               Case 5:18-cv-00257-JFL Document 3 Filed 01/31/18 Page 8 of 13




IV.      Injuries:


If you sustained injuries related to the eveots alleged above, describe them and .state what medical treatment, if any,

you required and r e c e i v e d . - - - - - - - - - - - - - - - - - - - - - - - - - - - - - - - - - -




V.       Relief:


State what you want the Court to do for you and the amount of monetary compensation, if any, you are seeking, and
the basis for such compensation.


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Rev. 10/2009                                           -~-
            Case 5:18-cv-00257-JFL Document 3 Filed 01/31/18 Page 9 of 13




Injuries
ATTACHMENT C

Intentional Infliction of emotional harm.

Loss of reputation as a Priest.

Loss of reputation as a Tax Accountant.
           Case 5:18-cv-00257-JFL Document 3 Filed 01/31/18 Page 10 of 13



Relief
ATTACHMENT D

1. Order Damages Intentional infliction of emotional distress at $250,000.00
                         .a-    q,'(,
2. Punish defendants frofil outrageous conduct and deter them from such outrageous conduct in
the future. Award punitive damages against the insurer. Award punitive damages against CEOs
Smith. Award punitive damages against Equifax Corporation.

3. Award damages based on present value of my loss of my reputation in two counties
as a Roman Catholic Priest, a Sanctified Healer, and Federal Income Tax Accountant.

4. Award $50,000 in legal fees required to defend against this or other frivolous claims for a
non-existent debt.

 5. Order all collections to cease for 2007 Tax return, and credit my account for $75,957.35.
               Case 5:18-cv-00257-JFL Document 3 Filed 01/31/18 Page 11 of 13



I declare under penalty of perjury that the foregoing is true and correct.

                 -tC'-
Signed thi<    ~ doy of       )',,,.,,_, v   *1'J


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                                              Si®ature of Plaintiff
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                                                                /d:   lv,.tr ;/ / ,         N   0         ~
Note:     All plaintiffs named in the caption of the complaint must date and sign the complaint. Prisoners must also
          provide their inmate numbers, present place of confinement, and address,


For Prisoners:

I declare under penalty of perjury that on this _ _ day of                                 20__, I am delivering
this complaint to prison authorities to be mailed to the Clerk's Office of the United States District Court for the
Eastern District of Pennsylvania.




                                                 Signature of P l a i n t i f f : - - - - - - - - - - - - - - - -
                                                       Inmate Number _ _ _ _ _ _ _ _ _ _ _ _ _ _ __




                                                      /0
Rev. 1012009
             Case 5:18-cv-00257-JFL Document 3 Filed 01/31/18 Page 12 of 13


                                        COVER LETTER


January 17th, 2018

Internal Revenue Service
PO Box 219236, Stop P-4 5050
Kansas City, MO 64121-9236

re: Notice - enclosed

Dear IRS Agent,

CEASE AND DESIST
Bad Faith Collections Claim and Tort Claim against IRS

I am a victim of Identity Theft, and the IRS knows this.

IRS received my Form 14039 for my Identity Theft claim, IRS Notice CPOlS, Notice Date
December 18, 2017, caller ID is 479915.

Today. I received a collection letter from the IRS for a bill for $75,957.35 and demanded
payment by February 14, 2018, and if not paid, threatened unlawful to take my Social Security
 benefits.

 1.1 have submitted Affidavits of Identity theft to both the Internal Revenue Service at the Federal
 Trade Commission.
 2. Equifax Corporation admitted they failed to protect my private data.
 3. IRS is a customer of Equifax.
 4. Equifax does not encrypt its data. and did not encrypt my data.
 5. Defendant and Equifax, Inc. CEO Smith testified under oath on the public record before the
 US Congress that he was responsible for my data breach and identity theft, a breach of his
 fiduciary duty.
 6. I did not am end a 2007 tax return.
 7. A claim for a debt from 2007 is past the statute of limitations.


 Sincerely,



  Edward T Kennedy
 401 Tillage rd
 Breinigsville PA
 18031-18339
                              Case 5:18-cv-00257-JFL Document 3 Filed 01/31/18 Page 13 of 13



                                                                                                        U.i ?OSTAGE
                                                                                                           AID




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Breinigsville, PA 18031
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